       Case 1:19-cv-10580-ADB           Document 1       Filed 03/26/19      Page 1 of 20



                            UNITED STATES DISTRICT COURT

                             DISTRICT OF MASSACHUSETTS


 KATE WEISSMAN,
                                                    CIVIL ACTION NO.
                       Plaintiffs,

        v.

 UNITED HEALTHCARE INSURANCE                        CLASS ACTION
 COMPANY, UNITED HEALTHCARE
 SERVICE, LLC, AND INTERPUBLIC                      COMPLAINT
 GROUP OF COMPANIES, INC. CHOICE
 PLUS PLAN,


                       Defendants.



                                       INTRODUCTION

       Plaintiff Kate Weissman brings this action individually and on behalf of all others similarly

situated (“the Class Members”) against Defendants UnitedHealthcare Insurance Company,

UnitedHealthcare Service, LLC (collectively “UnitedHealthcare”), and Interpublic Group of

Companies, Inc. Choice Plus Plan (“the Plan”), and hereby alleges the following on information

and belief, except as to those allegations that pertain to Ms. Weissman, which are alleged on

personal knowledge:

                                 NATURE OF THE ACTION

       1.      Ms. Weissman brings this action for herself and those similarly situated to

challenge UnitedHealthcare’s deceptive and fraudulent misrepresentations to its ERISA plan

participants and beneficiaries that it would deliver access to covered, medically necessary

healthcare for the treatment of cancer, and to challenge UnitedHealthcare’s deceptive and unfair

administration of its ERISA plans, including its prior authorization and utilization review process


                                                1
        Case 1:19-cv-10580-ADB          Document 1        Filed 03/26/19      Page 2 of 20




for plan members seeking proton beam therapy, and its adjudication and administration of claims

for proton beam therapy made under ERISA plans underwritten and administered by

UnitedHealthcare, which skews the determination of coverage for medically necessary services

towards denial.

                                 JURISDICTION AND VENUE

       2.      This action is brought under 29 U.S.C. §§ 1132(a), (e), (f), and (g) of the Employee

Retirement Income Security Act of 1974 (“ERISA”), as it involves claims for breach of fiduciary

duty under employee benefit health plans regulated and governed under ERISA. Jurisdiction is

predicated under these Code sections as well as 28 U.S.C § 1331, as this action involves a federal

question.

       3.      Ms. Weissman’s claims in this action were specifically administered in this judicial

district, and Ms. Weissman resides or may be found in this judicial district, the Eastern District of

Massachusetts. Thus, venue is proper in this judicial district pursuant to 29 U.S.C. § 1132(e)(2)

(special venue rules applicable to ERISA).

                                         THE PARTIES

       4.      Ms. Weissman is a citizen of the Commonwealth of Massachusetts and resides in

Suffolk County. Ms. Weissman is and was at all relevant times a participant in the Plan, a group

health plan governed by ERISA that is provided and funded by Ms. Weissman’s employer, and

administered by UnitedHealthcare, pursuant to which Ms. Weissman is entitled to health care

benefits.

       5.      Defendant UnitedHealthcare Insurance Company is and was at all relevant times a

corporation duly organized and existing under the laws of the State of Connecticut, with its

principal place of business located in Connecticut. UnitedHealthcare Insurance Company is



                                                 2
        Case 1:19-cv-10580-ADB           Document 1        Filed 03/26/19      Page 3 of 20




authorized to conduct business as a health care plan provider and insurer, and transacts, and is

transacting, the business of providing, administering and insuring health plans to consumers in this

judicial district.

        6.       Defendant UnitedHealthcare Service, LLC is and was at all relevant times a

corporation duly organized and existing under the laws of the State of Delaware, with its principal

place of business located in Wilmington, Delaware. UnitedHealthcare Service, LLC is authorized

to conduct business as a health care plan provider and insurer, and transacts, and is transacting,

and is in the business of providing, administering and insuring health plans to consumers in this

judicial district.

        7.       Defendant Interpublic Group of Companies, Inc. Choice Plus Plan (“the Plan”) is a

self-funded group health plan organized and regulated under ERISA. The Plan Administrator is

located in New York, New York.

        8.       UnitedHealthcare is an ERISA fiduciary with respect to Ms. Weissman’s plan and

the plans of all putative class members in that UnitedHealthcare exercises discretionary authority

or discretionary control with respect to the management of the plans; exercises discretionary

authority or discretionary control with respect to the management or disposition of the assets of

the plans; or has discretionary authority or discretionary responsibility in the administration of the

plans. 29 U.S.C. § 1002(21)(A).

        9.       Each of the defendants acted in concert, is responsible for and committed the course

of conduct described herein, including but not limited to the following:

                 a.     UnitedHealthcare drafted and implemented medical policy no. T0132 for

proton beam radiation therapy (“PBT”) that relies upon outdated medical evidence, ignores

contemporary medical evidence, and relies more heavily on actuarial calculation of risk pools



                                                  3
       Case 1:19-cv-10580-ADB            Document 1        Filed 03/26/19      Page 4 of 20




insofar as policy no. T0132 provides that PBT is covered for insured members younger than 19

years of age and those 65 years of age and older.

               b.      UnitedHealthcare drafted and implemented policies and procedures for

prior authorization review and the adjudication of insured members’ claims that provide for an

inadequate review of clinical records by its medical directors prior to rendering a determination of

coverage.

               c.      UnitedHealthcare compounds its bad faith breach of fiduciary duties, and

confounds learned health care providers, by having policy no. T0132 reviewed and applied to

insured members’ requests for prior authorization and in the adjudication of insured members’

claims by medical directors who are unqualified to render determinations of coverage for PBT,

including medical directors who are not board certified in the requisite specialty. This particular

breach of fiduciary duty is the result of UnitedHealthcare’s systemic, institutional abdication of its

duty to screen, conduct background checks, review available public records through state medical

licensing boards, and conduct meaningful interviews of qualified candidates before employing

candidates as medical directors who are charged with making life and death decisions for members

who are entirely reliant upon the Plan for timely access to medically necessary services.

               d.      By placing policy no. T0132 in the hands of medical directors who are not

qualified to render opinions as to the medical necessity of PBT; who lack the education, training

and experience to appreciate factors in a given case that indicate the medical necessity for PBT;

who are unaware of contemporary medical evidence in the requisite specialty indicating the

medical necessity for PBT; and who follow the inadequate policies and procedures for clinical

review, UnitedHealthcare categorically denies all prior authorization requests and claims for PBT

for all types of cancers on policy no. T0132’s “not indicated” list, including gynecologic cancers.



                                                  4
       Case 1:19-cv-10580-ADB           Document 1       Filed 03/26/19      Page 5 of 20




                                          THE PLAN

       10.     Ms. Weissman is and was at all relevant times covered by the Plan. The relevant

terms of the Plan are as follows:

               SECTION 3 - HOW THE PLAN WORKS
               Accessing Benefits
               As a participant in this Plan, you have the freedom to choose the
               Physician or health care professional you prefer each time you need
               to receive Covered Health Services. …
               You can choose to receive Network Benefits or non-Network
               Benefits.
               Network Benefits apply to Covered Health Services that are
               provided by a Network Physician or other Network provider.
                                                …
               Non-Network Benefits apply to Covered Health Services that are
               provided by a non- Network Physician or other non-Network
               provider, or Covered Health Services that are provided at a non-
               Network facility.
                                                …
               Eligible Expenses
               The Plan Administrator has delegated to UnitedHealthcare the
               discretion and authority to decide whether a treatment or supply is a
               Covered Health Service and how the Eligible Expenses will be
               determined and otherwise covered under the Plan.
                                                …
               SECTION 8 - EXCLUSIONS AND LIMITATIONS: WHAT
               THE MEDICAL PLAN WILL NOT COVER
               The Plan does not pay Benefits for the following services,
               treatments or supplies even if they are recommended or prescribed
               by a provider or are the only available treatment for your condition.
                                                …
               Experimental or Investigational or Unproven Services
               1. Experimental or Investigational Services and Unproven Services,
               unless the Plan has agreed to cover them as defined in Section 14,
               Glossary.
                                                …
               Your Relationship with UnitedHealthcare and Interpublic
               In order to make choices about your health care coverage and
               treatment, Interpublic believes that it is important for you to
               understand how UnitedHealthcare interacts with the Plan Sponsor’s
               benefit Plan and how it may affect you. UnitedHealthcare helps
               administer the Plan Sponsor’s benefit plan in which you are
               enrolled. …
               SECTION 14 – GLOSSARY

                                                5
Case 1:19-cv-10580-ADB         Document 1         Filed 03/26/19       Page 6 of 20




                                        …
     Claims Administrator - UnitedHealthcare (also known as
     UnitedHealthcare Service LLC.) and its affiliates, who provide
     certain claim administration services for the Plan.
                                        …
     Covered Health Services - those health services, including services
     or supplies, which the Claims Administrator determines to be:
          Provided for the purpose of preventing, diagnosing or
             treating Sickness, Injury, Mental Illness, Substance-Related
             and Addictive Disorders Services, or their symptoms.
          Included in Section 5, Plan Highlights and Section 6,
             Additional Coverage Details.
          Provided to a Covered Person who meets the Plan’s
             eligibility requirements, as described under Eligibility in
             Section 2, Introduction.
          Not identified in Section 8, Exclusions.
     The Claims Administrator maintains clinical protocols that
     describe the scientific evidence, prevailing medical standards and
     clinical guidelines supporting its determinations regarding specific
     services.
                                        …
     Experimental or Investigational Services - medical, surgical,
     diagnostic, psychiatric, mental health, substance-related and
     addictive disorders or other health care services, technologies,
     supplies, treatments, procedures, drug therapies, medications or
     devices that, at the time the Claims Administrator and the Plan
     Administrator make a determination regarding coverage in a
     particular case, are determined to be any of the following:
          Not approved by the U.S. Food and Drug Administration
             (FDA) to be lawfully marketed for the proposed use and not
             identified in the American Hospital Formulary Service or the
             United States Pharmacopoeia Dispensing Information as
             appropriate for the proposed use.
          Subject to review and approval by any institutional review
             board for the proposed use. (Devices which are FDA
             approved under the Humanitarian Use Device exemption are
             not considered to be Experimental or Investigational.)
          The subject of an ongoing Clinical Trial that meets the
             definition of a Phase I, II or III Clinical Trial set forth in the
             FDA regulations, regardless of whether the trial is actually
             subject to FDA oversight.
     Exceptions:
          Clinical Trials for which Benefits are available as described
             under Clinical Trials in Section 6, Additional Coverage
             Details.
          If you are not a participant in a qualifying Clinical Trial as

                                         6
Case 1:19-cv-10580-ADB        Document 1        Filed 03/26/19      Page 7 of 20




             described under Section 6, Additional Coverage Details, and
             have a Sickness or condition that is likely to cause death
             within one year of the request for treatment, the Claims
             Administrator and the Plan Administrator may, at their
             discretion, consider an otherwise Experimental or
             Investigational Service to be a Covered Health Service for
             that Sickness or condition. Prior to such consideration, the
             Claims Administrator and the Plan Administrator must
             determine that, although unproven, the service has
             significant potential as an effective treatment for that
             Sickness or condition.
                                        …
     Unproven Services - health services, including medications that are
     determined not to be effective for treatment of the medical condition
     and/or not to have a beneficial effect on health outcomes due to
     insufficient and inadequate clinical evidence from well-conducted
     randomized controlled trials or cohort studies in the prevailing
     published peer-reviewed medical literature.
          Well-conducted randomized controlled trials are two or
             more treatments compared to each other, with the patient not
             being allowed to choose which treatment is received.
          Well-conducted cohort studies from more than one
             institution are studies in which patients who receive study
             treatment are compared to a group of patients who receive
             standard therapy. The comparison group must be nearly
             identical to the study treatment group.
     UnitedHealthcare has a process by which it compiles and reviews
     clinical evidence with respect to certain health services. From time
     to time, UnitedHealthcare issues medical and drug policies that
     describe the clinical evidence available with respect to specific
     health care services. These medical and drug policies are subject to
     change without prior notice. …
          If you have a life threatening Sickness or condition (one that
             is likely to cause death within one year of the request for
             treatment), UnitedHealthcare and the Plan Administrator
             may, at their discretion, consider an otherwise Unproven
             Service to be a Covered Health Service for that Sickness or
             condition. Prior to such a consideration, UnitedHealthcare
             and the Plan Administrator must first establish that there is
             sufficient evidence to conclude that, albeit unproven, the
             service has significant potential as an effective treatment for
             that Sickness or condition.
     The decision about whether such a service can be deemed a Covered
     Health Service is solely at UnitedHealthcare’s and the Plan
     Administrator’s discretion.




                                       7
       Case 1:19-cv-10580-ADB          Document 1       Filed 03/26/19      Page 8 of 20




                                               …
               SECTION 15 – ERISA
               Claims Administrator
               UnitedHealthcare is the Plan’s Claims Administrator. The Claims
               Administrator is authorized and responsible for receiving and
               reviewing claims for benefits under the Plan; determining what
               amount, if any, is due and payable; making appropriate
               disbursements to persons entitled to benefits under the Plan; and
               reviewing and determining denied claims and appeals.


                         PROTON BEAM RADIATION THERAPY

       12.     Contrary to UnitedHealthcare’s systematic denial of PBT as “experimental or

investigational or unproven,” PBT is an established form of treatment that is widely accepted by

physicians, government agencies and many insurers and other payers, including Medicare and

Medicaid (which by statute do not cover investigational or experimental services).

       13.     The invention of PBT is credited to Physicist Robert Wilson, who first described it

theoretically in 1946. By the 1950’s, some health care facilities were using PBT to treat certain

types of cancers. The FDA approved PBT in 1988 for the treatment of cancer.

       14.     PBT is one of the most advanced types of radiation treatment that targets the

cancerous site in the patient’s body and uses proton beams to eradicate the cancer cells. PBT uses

a beam of accelerated subatomic particles to destroy cancerous tissue. The protein beam damages

the DNA in cancer cells in a way that causes the cell to cease functioning. The cancer cell then

begins to break itself down through a process known as apoptosis or programmed cell death.

       15.     A significant benefit of PBT is that it is extremely precise. Unlike traditional

radiation therapy, such as intensity-modulated radiation therapy (“IMRT”), the beam used in PBT

can be adjusted and shaped to match the size and shape of the cancerous tissue to be destroyed,

while not killing healthy tissue beyond a pre-determined scope and depth.

       16.     Given the choice between PBT or IMRT, UnitedHealthcare systematically

                                                8
       Case 1:19-cv-10580-ADB           Document 1        Filed 03/26/19      Page 9 of 20




determines IMRT is more appropriate than PBT for those cancers on policy no. T0132’s “not

indicated” list. Not surprisingly, IMRT is about half the cost of PBT.

       17.     UnitedHealthcare’s breaches of its fiduciary duties unfairly forces its insureds, like

Ms. Weissman, to choose between receiving traditional therapy, like IMRT, which

UnitedHealthcare will cover, but will also increase the risk of comorbidities, or paying out-of-

pocket, $95,000.00 in Ms. Weissman’s case, and receive the PBT recommended by board certified

oncologists that will spare healthy tissue and organs. Ms. Weissman knows that there are those

less fortunate than she who cannot afford to have such a choice, and for this reason she brings this

action on behalf of the Class Members as well.

                                      KATE WEISSMAN

       18.     Ms. Weissman was born on July 6, 1985, the younger of two daughters to Bob and

Cindy Weissman. She attended Dickinson College in Carlisle, Pennsylvania, where she played

women’s lacrosse and met Matt Eonta, a pitcher on the baseball team, with whom she graduated

in 2007 and married on June 22, 2013.

       19.     In October 2015, at the age of 30, Ms. Weissman was diagnosed with Stage IIB

squamous cell carcinoma of the cervix. She underwent traditional treatment including chemo

radiation of weekly cisplatin, pelvic radiation, and tandem and ovoid brachytherapy that she

completed in December, 2015, with complete clinical response.

       20.     Unfortunately, a PET/CT Scan, obtained on March 8, 2016, revealed two small

lymph nodes at the edge of the prior treatment field in the para-aortic region, which biopsy

confirmed was squamous cell carcinoma. Ms. Weissman underwent laparoscopic resection of the

two lymph nodes on April 6, 2016.

       21.     Ms. Weissman was referred to Andrea L. Russo, M.D., Assistant Professor,



                                                 9
       Case 1:19-cv-10580-ADB           Document 1         Filed 03/26/19    Page 10 of 20




Harvard Medical School, Department of Radiation Oncology, Massachusetts General Hospital

(“MGH”) for consideration of PBT. Dr. Russo, along with Ms. Weissman’s multi-disciplinary

care team at Dana-Farber Cancer Institute (“DFCI”), determined that adjuvant radiotherapy with

weekly cisplatin to the para-aortic lymph nodes, matched inferiorly to the top of her prior pelvic

radiation field, would be in Ms. Weissman’s best interest. Ms. Weissman’s doctors concluded that

PBT, for at least a portion of the treatment course, was essential for the following reasons:

               a.      The para-aortic lymph nodes lied directly between both kidneys and

posterior to the small bowel;

               b.      An IMRT plan but could not meet the bowel metrics and, therefore, Ms.

Weissman was at significant risk of bowel toxicity with IMRT therapy;

               c.      The bowel metrics could be substantially reduced using PBT;

               d.      An IMRT plan but could not meet the bone marrow metrics, which was

extremely important since Ms. Weissman had received prior cisplatin and would receive additional

cisplatin as a radio-sensitizing agent during treatment;

               e.      Published data has shown that PBT can significantly reduce the dose to bone

marrow, bladder, and small bowel compared to IMRT in patients with gynecologic cancer; and

               f.      A study looking at IMRT to treat para-aortic recurrences concluded there

was still a 19% risk of late GI toxicity, which would be significantly reduced with PBT since the

entire bowel anterior to the treatment field would be spared.

       22.     Pursuant to the terms and conditions of the Plan, Ms. Weissman’s health care

providers contacted UnitedHealthcare and requested prior authorization for Ms. Weissman’s

treatment plan, including PBT.

       23.     In a letter dated April 6, 2016, UnitedHealthcare denied coverage for Ms.



                                                 10
        Case 1:19-cv-10580-ADB          Document 1       Filed 03/26/19      Page 11 of 20




Weissman’s PBT.

        24.    UnitedHealthcare’s denial was based upon policy no. T0132, effective date

December 1, 2015, and its determination that the PBT is an “unproven procedure.” Quite clearly

from the letter, UnitedHealthcare’s medical director simply looked at Ms. Weissman’s diagnosis

of cervical cancer and then looked at the “not indicated” listed in policy no. T0132, and concluded:

“You have cervix cancer. We looked at your health plan medical criteria for radiation therapy.

This treatment does not meet criteria for coverage. It has not been proven that this treatment is

more effective than standard radiation for your medical condition.”

        25.    A copy of the denial letter was mailed to Ms. Weissman and to Dr. Russo at MGH.

Ms. Weissman and Dr. Russo appealed UnitedHealthcare’s denial pursuant to the terms of the

Plan.

        26.    In a letter dated April 12, 2016, UnitedHealthcare expressed its decision to uphold

its denial of coverage following review of the appeal by a UnitedHealthcare medical director,

board certified in medical oncology, who determined that based on policy no. T0132, “the

requested service has not been shown to be safe and effective for [Ms. Weissman’s] condition.”

Coverage was denied pursuant to the “experimental or investigational or unproven” exclusion.

However, UnitedHealthcare stated that it was sending Ms. Weissman’s case to an outside specialist

in radiation oncology in order to get an expert opinion. UnitedHealthcare was certain to remind

Ms. Weissman in its letter that she would be “responsible for all costs related to [the PBT]” pending

the review.

        27.    In a letter dated April 13, 2016, UnitedHealthcare sent a “corrected” decision on

the appeal and stated: “We are pleased to inform you that we will process the claim(s) relevant to

this service(s) accordingly.” But on page two of the letter, UnitedHealthcare clarified that it would



                                                 11
      Case 1:19-cv-10580-ADB           Document 1       Filed 03/26/19      Page 12 of 20




only process the claim for IMRT; that it was not reversing its denial of PBT. In the letter,

UnitedHealthcare stated that it had requested “a Board-certified independent doctor” who

“specializes in radiation oncology” to review Ms. Weissman’s case and determined that “there is

not enough evidence . . . to show [PBT] is effective for [her] condition.” UnitedHealthcare

determined that PBT was “considered unproven under the terms of [the Plan].”

       28.     Ms. Weissman and her health care providers were determined and again appealed

UnitedHealthcare’s denial.

       29.     In a letter dated April 22, 2016, UnitedHealthcare expressed its decision to uphold

the denial and explained that the second appeal was reviewed by a medical director, specializing

in obstetrics and gynecology, who concluded: “You have cervical cancer. … We have reviewed

your health plan benefits regarding the use of [PBT]. Based on the review, there is not enough

medical evidence to show [PBT] is effective for your condition.”

       30.     Ms. Weissman was in a fight for her life, and neither she nor her health care

providers were willing to surrender to UnitedHealthcare’s unreasonable denial of coverage. In a

letter dated April 27, 2016, Dr. Russo expressed her opinions as to the medical necessity for PBT

in Ms. Weissman’s case. She explained that Ms. Weissman’s case had been presented to the PBT

rounds at MGH, which functions as a board to allocate treatment slots for patients, given the

demand for PBT that greatly exceeds the available supply. Patients are selected for treatment

based on the curative potential of the therapy and benefits of that therapy over other options. The

MGH PBT rounds authorized PBT for Ms. Weissman at the next available treatment slot.

       31.     Dr. Russo pleaded with UnitedHealthcare, explaining that Ms. Weissman was “a

30 year old woman with a curable tumor and a long life ahead of her. Proton therapy is not

considered to be experimental, investigational or unproven, given there is published data showing



                                                12
       Case 1:19-cv-10580-ADB          Document 1        Filed 03/26/19      Page 13 of 20




significant dose reductions to nearby organs at risk. There is no reason to put [Ms. Weissman] at

additional risk of toxicity when we have a less toxic modality available.” Dr. Russo was joined as

a signatory on the April 27, 2016, letter by five other board-certified gynecological oncologists or

radiation oncologists from MGH and DFCI. Five of the physicians are professors at Harvard

Medical School, and the other was once named among America’s Top Doctors by Newsweek

magazine.

       32.     UnitedHealthcare referred the appeal for a purported external independent review,

which was handled by AllMed Health Care Management. In an unsigned letter dated May 5, 2016,

AllMed expressed the independent reviewer’s opinion that PBT in Ms. Weissman’s case was

excluded under the Plan as experimental or investigational because “there is not enough strong

clinical evidence to suggest [PBT] would change the outcome in this case.” The identity of the

independent reviewer was not revealed.

       33.     UnitedHealthcare refused to budge despite pleas on Ms. Weissman’s behalf by

United States Senators Elizabeth Warren and Edward Markey, and Congressman Michael

Capuano.

       34.     UnitedHealthcare chose to rely on policy no. T0132 and the opinions of its medical

directors, despite their lack of requisite qualifications and expertise in medical and radiation

gynecology oncology, instead of the opinions of Ms. Weissman’s esteemed and properly board-

certified health care providers.

       35.     Ms. Weissman was forced to incur a $95,000.00 expense for PBT treatment,

without any assistance from UnitedHealthcare.

       36.     After 55 rounds of radiation, 17 rounds of chemotherapy, a surgical procedure to

remove her para-aortic lymph nodes, and the PBT UnitedHealthcare refused to cover, Ms.



                                                13
       Case 1:19-cv-10580-ADB          Document 1        Filed 03/26/19      Page 14 of 20




Weissman has been cancer free for two years, a critical mile post in her recovery since the risk of

recurrence drops considerably after two years.

       37.     The PBT was a tremendous success and Ms. Weissman, at 33 years old, did not

suffer any of the devastating damage to healthy tissue and organs she would have sustained if

forced to proceed with the IMRT, the only radiation treatment UnitedHealthcare would cover.

       38.     Ms. Weissman, successful in her fight for life, now pursues this fight for change,

individually and on behalf of the Class Members, particularly those less fortunate and unable to

bear the economic expense of PBT treatment, so that UnitedHealthcare’s insured members

suffering with cancer will not have to suffer the extreme and outrageous anxiety and distress of

wrongful coverage denials by UnitedHealthcare, in addition to the crippling cost of care, at a time

when they should be focused on their recovery, not fighting with UnitedHealthcare.

                              CLASS ACTION ALLEGATIONS

       39.     Ms. Weissman brings this action individually and all others similarly situated as a

Class Action pursuant to Federal Rules of Civil Procedure Rule 23.

       40.     Pursuant to Rule 23(b)(1) and (b)(2), Plaintiff seeks certification of a class defined

as follows:

       All persons covered under ERISA-governed plans, administered or insured by

       UnitedHealthcare, whose requests for PBT were denied at any time within the applicable

       statute of limitations, or whose requests for PBT will be denied in the future, based upon a

       determination by UnitedHealthcare that PBT is not medically necessary or is experimental,

       investigational or unproven.

       41.     Ms. Weissman and the Class Members reserve the right under Federal Rules of

Civil Procedure Rule 23(c)(l)(C) to amend or modify the class to include greater specificity, by



                                                 14
       Case 1:19-cv-10580-ADB            Document 1        Filed 03/26/19    Page 15 of 20




further division into subclasses, or by limitation to particular issues.

       42.     This action has been brought and may be properly maintained as a Class Action

under the provisions of Federal Rules of Civil Procedure Rule 23 because there is a well-defined

community of interest in the litigation and the proposed class is easily ascertainable.

       Numerosity

       43.     The potential members of the proposed class as defined are so numerous that

joinder of all the members of the proposed class is impracticable.

       44.     While the precise number of proposed class members has not been determined at

this time, Ms. Weissman is informed and believes that there are a substantial number of individuals

covered under plans insured or administered by UnitedHealthcare who have been similarly

affected.

       Commonality

       45.     Common questions of law and fact exist as to all members of the proposed class.

       Typicality

       46.     Ms. Weissman’s claims are typical of the claims of the proposed class. Ms.

Weissman and all members of the class are similarly affected by UnitedHealthcare’s wrongful

conduct.

       Adequacy of Representation

       47.     Ms. Weissman will fairly and adequately represent and protect the interests of the

members of the proposed class. Counsel who represent Ms. Weissman are competent and

experienced in litigating large and complex class actions.

       Superiority of Class Action

       48.     A class action is superior to all other available means for the fair and efficient



                                                  15
       Case 1:19-cv-10580-ADB            Document 1          Filed 03/26/19   Page 16 of 20




adjudication of this controversy. Individual joinder of all members of the proposed class is not

practicable, and common questions of law and fact exist as to all class members.

        49.     Class action treatment will allow those similarly situated persons to litigate their

claims in the manner that is most efficient and economical for the parties and the judicial system.

Ms. Weissman is unaware of any difficulties that are likely to be encountered in the management

of this action that would preclude its maintenance as a class action.

        Rule 23(b) Requirements

        50.     Inconsistent or varying adjudications with respect to individual members of the

class would establish incompatible standards of conduct for UnitedHealthcare.

        51.     Adjudications with respect to individual class members would be dispositive of the

interests of the other members not parties to the individual adjudications or would substantially

impair or impede their ability to protect their interests.

        52.     UnitedHealthcare has acted or refused to act on grounds generally applicable to the

class, thereby making appropriate final injunctive relief or corresponding declaratory relief with

respect to the class as a whole.

                                FIRST CLAIM FOR RELIEF
                              For Declaratory Relief, Injunctive
                        and Other Equitable Relief, and Attorneys’ Fees
                                 (29 U.S.C. §§ 1132(a)(3), (g))

        53.     Ms. Weissman and the Class Members incorporate by reference the foregoing

paragraphs as though fully set forth herein.

        54.     As set forth herein, Ms. Weissman and the Class Members are participants in or

beneficiaries of health benefit plans administered and/or underwritten by UnitedHealthcare and

governed by ERISA.

        55.     UnitedHealthcare acts as an ERISA fiduciary with respect to the administration and

                                                  16
       Case 1:19-cv-10580-ADB             Document 1     Filed 03/26/19      Page 17 of 20




claims decisions of the group health benefit plan it issues to employers, such as the Plan and the

Class Plans, within the meaning of 29 U.S.C. § 1109(a) and 1002(21)(A). With respect to these

plans, UnitedHealthcare exercises discretionary authority or control respecting management of the

plans, and exercises authority or control respecting management or disposition of the plans’ assets.

UnitedHealthcare has the authority, and actually exercises the authority, to fund plans or

administer self-funded plans (like the Plan), make decisions on claims for benefits and appeals

thereof, and to write checks for benefits.

       56.     As an ERISA fiduciary, UnitedHealthcare must act with the utmost prudence and

loyalty in communicating to plan participants and beneficiaries and in administering their claims

under the plan, and must otherwise comply with the requirements of ERISA, and with terms and

conditions of its ERISA plans themselves, in making benefit determinations and processing claims

on behalf of plan participants and beneficiaries.

       57.     UnitedHealthcare repeatedly violated these obligations and duties to Ms. Weissman

and the Class Members during the class period in part by the following conduct:

               a.      Drafting and implementing medical policy no. T0132 for PBT that relies

upon outdated medical evidence, ignores contemporary medical evidence, and relies more heavily

on actuarial calculation of risk pools;

               b.      Drafting and implementing policies and procedures for prior authorization

review and the adjudication of insured members’ claims that provide for an inadequate review of

clinical records by its medical directors prior to rendering a determination of coverage;

               c.      Having policy no. T0132 reviewed and applied to insured members’

requests for prior authorization and in the adjudication of insured members’ claims by medical

directors who are unqualified to render determinations of coverage for PBT, including medical



                                                17
       Case 1:19-cv-10580-ADB           Document 1        Filed 03/26/19   Page 18 of 20




directors who are not board certified in the requisite specialty.

       58.     UnitedHealthcare has categorically and improperly denied Ms. Weissman and the

Class Members’ requests for PBT, as alleged above.

       59.     In acting and failing to act as described above, UnitedHealthcare has breached its

fiduciary duties.

       60.     Pursuant to 29 U.S.C. § 1132(a)(3), Plaintiff and the Class seek equitable and

remedial relief as follows:

               a.      An injunction compelling UnitedHealthcare to:

                       i.      Retract its categorical denials for PBT;

                       ii.     Provide notice of said determination in the form and manner

required by ERISA to all Class Members who have had prior authorization requests or claims for

PBT denied; and

                       iii.    Re-evaluate all prior authorization requests or claims for PBT by

Ms. Weissman and the Class Members under an ERISA-compliant procedure and, where

warranted, reimburse Ms. Weissman and the Class Members for amounts incurred for PBT as a

result of coverage denials in violation of ERISA;

               b.      An accounting of any profits made by UnitedHealthcare from the monies

representing the improperly denied claims and disgorgement of any profits UnitedHealthcare may

have realized by virtue of its violations of ERISA and other fiduciary breaches;

               c.      Such other equitable and remedial relief as the Court may deem appropriate;

and

               d.      Attorneys’ fees and costs in an amount to be proven, which Ms. Weissman

and the Class Members are entitled to have paid by UnitedHealthcare pursuant to 29 U.S.C. §



                                                 18
       Case 1:19-cv-10580-ADB           Document 1       Filed 03/26/19     Page 19 of 20




1132(g)(1).

                                    REQUEST FOR RELIEF

        WHEREFORE, Ms. Weissman individually and on behalf of the Class Members requests

relief as follows:

        61.     An Order certifying the proposed Class, appointing Ms. Weissman to represent the

proposed Class, and designating Ms. Weissman’s counsel as Class Counsel;

        62.     An Order declaring that UnitedHealthcare’s practices described herein violate

ERISA and its ERISA-based fiduciary duties;

        63.     Injunctive relief as described and requested above;

        64.     An accounting of any profits made by UnitedHealthcare from the monies

representing the improperly denied claims and an Order requiring UnitedHealthcare to disgorge

any profits it made by virtue of its misconduct, as described herein;

        65.     An Order awarding disbursements and expenses for this action, including

reasonable attorneys’ fees and costs, in amounts to be determined by the Court, pursuant to 29

U.S.C. §1132(g);

        66.     Payment of pre-judgment and post-judgment interest as allowed under ERISA; and

        67.     For such other and further relief as this Court may deem just and proper.




                                                19
     Case 1:19-cv-10580-ADB   Document 1    Filed 03/26/19    Page 20 of 20




Dated: March 26, 2019            ROSENFELD & RAFIK, P.C.


                                 By: /s/ Mala M. Rafik
                                      Mala M. Rafik
                                      Attorneys for Plaintiff KATE WEISSMAN

                                  ROSENFELD & RAFIK, P.C.
                                  Mala M. Rafik
                                  mmr@rosenfeld.com
                                  184 High Street, Suite 503
                                  Boston, MA 02110
                                  Telephone:    (617) 723-7470
                                  Facsimile:    (617) 227-2843

                                  CALLAHAN & BLAINE, APLC
                                  Richard T. Collins (Bar No. 166577)
                                  Pro Hac Vice Pending
                                  rcollins@callahan-law.com
                                  Damon D. Eisenbrey (Bar No. 215927)
                                  Pro Hac Vice Pending
                                  deisenbrey@callahan-law.com
                                  3 Hutton Centre Drive, Ninth Floor
                                  Santa Ana, California 92707
                                  Telephone:    (714) 241-4444
                                  Facsimile:    (714) 241-4445

                                  KANTOR & KANTOR, LLP
                                  Lisa S. Kantor (Bar No. 110678)
                                  Pro Hac Vice Pending
                                  lkantor@kantorlaw.net
                                  19839 Nordhoff Street
                                  Northridge, CA 91324
                                  Telephone:     (818) 886-2525
                                  Facsimile:     (818) 350-6272




                                    20
